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                               UNITED STATES DISTRICT COURT                            DEC 14 2017
                               EASTERN DISTRICT OF MISSOURI
                                                                                      U. S. DISTRICT COURT
                                     EASTERN DIVISION                              .EASTERN DISTRICT OF MO
                                                                                   .         ST. LOUIS
UNITED STATES OF AMERICA,                            )
                                                     )
                        Plaintiff,                   )
                                                     )
vs.

JUSTIN ISAIAH MORROW,
                                                     j
                                                     )
                                                         I   4:17CR594 CDP/NCC;
                                                     )
                        Defendant.                   )

                                           INDICTMENT

                                           COUNT ONE

      The Grand Jury charges that:

      On or about December 11, 2017, in the City of St. Louis, Missouri, within the Eastern

District of Missouri,

                                     JUSTIN ISAIAH MORROW,

the Defendant herein, did knowingly obstruct, delay, and affect commerce and the movement of

any article or commodity in commerce or attempt to do so by robbery of Burger King, a

commercial establishment engaged in interstate or foreign commerce and in the business of

buying and selling articles and commodities that have previously been transported in interstate or

foreign commerce.

      In violation of Title 18, United States Code, Section 1951(a), and punishable under Title

18, United States Code, Section 1951(a).

                                           COUNT TWO

      The Grand Jury further charges that:

      On or about December 11, 2017, in the Eastern District of Missouri,

                                     JUSTIN ISAIAH MORROW,

the defendant herein, did knowingly possess, brandish, and discharge a firearm in furtherance of
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a crime of violence which may be prosecuted in a court of the United States; to wit: obstructing,

delaying, or affecting commerce by robbery, as charged in Count One herein.

     In violation of Title 18, United States Code, Section 924(c)(1 )(A) and punishable under

Title 18, United States Code, Section 924(c)(l)(A)(iii).




                                                            A TRUE BILL




                                                            FOREPERSON


JEFFREY B. JENSEN
United States Attorney



ALLISON H. BEHRENS, #38482MO
Assistant United States Attorney
